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                       IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                     AUGUSTA DIVISION


 UNITED STATES OF AMERICA,

                        Plaintiff,

 v.                                                       l:13-CR-10-6


 JANICE SMALLEY,

                        Defendant,


 SRP FEDERAL CREDIT UNION,

                        Garnishee.


                                             ORDER


       A Writ of Garnishment, directed to Garnishee, has been duly issued and served upon

the Garnishee. Pursuant to the Writ of Garnishment, the Garnishee filed an Answer on April 6,

2017, stating that at the time of the service of the Writ it had in its possession, custody or

control, funds in an account belonging to the Defendant. According to the Garnishee's Answer,

the total sum held in the account is $2,209.16.

       The Defendant was properly served with the Writ and notified of her right to a hearing;

however the Defendant has chosen not to exercise that right. Moreover, the Defendant has not

made any claims for exemption, nor would such a claim succeed in this matter as the funds in the

account are non-exempt.

       IT IS THEREFORE ORDERED that Garnishee shall pay the balance held in the account

in the approximate amount of $2,209.16, plus any accrued interest or other deposits to the
Government so that the funds may be applied to the Defendant's outstanding restitution order.
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 Payments shall be made payable to "Clerk, U.S. District Court" and mailed to:

 US Clerk of Court
 P.O.Box 1130
 Augusta, GA 30903



  IT IS SO ORDER ENTERED, this JS day of
                               Cj day < May, 2017




                                      J. RANBAflrflALL, CHIEF JUDGE
                                     JJNjrrEDyrATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF GEORGIA
